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                                   UNITED STATES BANKRUPTCY COURT
                                             Northern DISTRICT OF Illinois
                                                         Eastern Division


In re: Oakfabco, Inc.                                             §                 Case No. 15-27062
                                                                  §
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 03/31/2022                                                            Petition Date: 08/07/2015



Plan Confirmed Date:04/11/2019                                                       Plan Effective Date: 07/03/2019


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Oakfabco Liquidating Trust
                                                                                  Name of Authorized Party or Entity




/s/ David J. Gordon                                                     David J. Gordon, Trustee
Signature of Responsible Party                                           Printed Name of Responsible Party
04/21/2022
                                                                        DJO Services LLC
Date                                                                    4460 Redwood Highway, Suite 16-518
                                                                        San Rafael, CA 94901
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Part 1: Summary of Post-confirmation Transfers

                                                                                                                      Total Since
                                                                                              Current Quarter        Effective Date

 a. Total cash disbursements                                                                         $173,810              $2,192,870
 b. Non-cash securities transferred                                                                          $0                   $0
 c. Other non-cash property transferred                                                                      $0                   $0
 d. Total transferred (a+b+c)                                                                        $173,810              $2,192,870

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                Approved       Approved     Paid Current     Paid
                                                                              Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor              Aggregate Total
                                                                                         $0    $5,242,746             $0    $5,242,746
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        Reed Smith                         Lead Counsel                         $0    $2,649,308             $0    $2,649,308
        ii       FrankGecker LLP                    Other                                $0    $2,593,438             $0    $2,593,438
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                                                                               Approved       Approved     Paid Current     Paid
                                                                             Current Quarter Cumulative      Quarter      Cumulative
b.      Professional fees & expenses (nonbankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
                                                                                        $0       $59,722             $0       $59,722
        Itemized Breakdown by Firm
                  Firm Name                        Role
        i         Lasko & Associates               Financial Professional               $0       $30,514             $0       $30,514
        ii        Henry Booth                      Other                                $0       $29,208             $0       $29,208
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c.          All professional fees and expenses (debtor & committees)                         $0      $5,326,571             $0    $5,326,571

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                      % Paid of
                                                  Payments            Paid Current                                                Allowed
                                                 Under Plan             Quarter           Paid Cumulative      Allowed Claims      Claims
 a. Administrative claims                             $5,326,571                 $0               $5,326,571         $5,326,571      100%
 b. Secured claims                                              $0               $0                      $0                 $0          0%
 c. Priority claims                                             $0               $0                      $0                  $0         0%
 d. General unsecured claims                               $100,000                  $0            $100,000            $280,000        36%
 e. Equity interests                                            $0               $0                      $0


Part 4: Questionnaire
     a. Is this a final report?                                                                                Yes    No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:         06/30/2023
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                      Yes    No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ David J. Gordon                                                   David J. Gordon
Signature of Responsible Party                                         Printed Name of Responsible Party
Trustee, Oakfabco Liquidating Trust                                    04/21/2022
Title                                                                  Date




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                                                Non-Bankruptcy Table 1-50




                                               Non-Bankruptcy Table 51-100




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